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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                    Case No.: 9:16-cv-81798-DMM

                                                     x
  TTT Foods Holding Company LLC,                     :
  a Florida limited liability company,               :
                                                     :
           Plaintiff,                                :
                                                     :
  v.                                                 :
                                                     :
  BEATRICE NAMM, an individual,                      :
  JONATHAN NAMM, an individual, and                  :
  DELUXE GOURMET SPECIALTIES LLC, a                  :
  New Jersey limited liability company,              :
                                                     :
           Defendants.                               :
                                                     x

           REPLY IN SUPPORT OF MOTION TO STRIKE AMENDED AFFIRMATIVE
                DEFENSES AND INCORPORATED MEMORANDUM OF LAW

           Plaintiff, TTT Foods Holding Company LLC (“TTT Foods”), hereby files its Reply in

  Support of Motion to Strike Amended Affirmative Defenses and Incorporated Memorandum of

  Law, and in support thereof states as follows:

           1.      Beatrice Namm (“Mrs. Namm”), Jonathan Namm and Deluxe Gourmet

  Specialties LLC (collectively, the “Defendants”) filed the Defendants’ Response to Plaintiff’s

  Motion to Strike Affirmative Defenses (DOC 36) [ECF No. 44] (the “Response”) on January 13,

  2017 in response to TTT Foods’ Motion to Strike Amended Affirmative Defenses and

  Incorporated Memorandum of Law (the “Motion”) [ECF No 36], which seeks to strike the

  Twelfth through Fifteenth, Seventeenth and Eighteenth Affirmative Defenses set forth in the

  Amended Answer. 1


  1
      Capitalized terms not defined herein shall have the meanings provided for in the Motion.


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         2.      The Motion seeks to strike the Seventeenth and Eighteenth Affirmative Defenses

  because they are bare bones conclusory allegations, which allege that it would be inequitable to

  grant TTT Foods relief and TTT Foods has unclean hands. Am. Answer ¶ 29, 30.                  The

  Defendants’ additional factual allegations in support of these defenses raised in paragraphs 4

  through 20 are improperly raised through the Response, are disputed by TTT Foods and do not

  support affirmative defenses of equity and unclean hands.

         3.      Assuming the Court were to allow the Defendants leave to file a second amended

  answer, the allegations made in paragraphs 4 through 20 of the Response do not support equity

  or unclean hands defenses and such amendment would be futile.

         4.      “Generally, the conduct constituting the ‘unclean hands' must be connected with

  the matter in litigation ....” Pennington v. Pennington, 390 So.2d 809, 810 (Fla. 5th DCA 1980)

  (holding that it was improper for trial court to rely upon clean hands doctrine and husband's

  failure to pay child support through the clerk of court as required by settlement agreement to

  support its refusal to hold wife in contempt for failure to convey her interest in marital home).

  To assert the defense, the defendant must demonstrate that the plaintiff's wrongdoing is directly

  related to the claim against which it is asserted and that the plaintiff's wrongdoing does not bar

  relief unless the defendant can show that it was personally injured by the plaintiff's conduct.

  Calloway v. Partners Nat'l Health Plans, 986 F.2d 446, 450–51 (11th Cir.1993).

         5.      The allegations raised in paragraphs 4 through 20 of the Response have nothing to

  do with the allegations in the Complaint. The essence of the Complaint is that Beatrice Namm

  engaged in fraudulent conduct individually and through her companies after TTT Foods’ claims

  arose against Brooklyn’s Best in order to avoid paying TTT Foods. Specifically, the Complaint

  asserts that after March 27, 2015, Mrs. Namm caused Brooklyn’s Best to fraudulently transfer

  assets to and/or for the benefit of her and her husband, that Mrs. Namm breached her fiduciary

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  duty to the creditors of Brooklyn’s Best, defrauded Brooklyn’s Best’s creditors by conducting

  business through successor entities and seeks to hold Mrs. Namm liable on the judgment in favor

  of TTT Foods based upon alter ego.

         6.      The allegations made in paragraphs 4 through 11 of the Response pre-date the

  acts complained of in the Complaint. Moreover, none of the allegations in paragraphs 4 through

  11 show unclean hands on the part of TTT Foods or that it would be inequitable to grant

  judgment in favor of TTT Foods. Those allegations merely show that TTT Foods and Mrs.

  Namm used to be in business together, a dispute arose that was settled, which gave way to TTT

  Foods’ claims against Brooklyn’s Best.

         7.      Paragraphs 12 through 20 of the Response merely allege that TTT Foods took

  action to collect on a debt owed by Brooklyn’s Best after Brooklyn’s Best’s default. Said

  allegations were the subject of Brooklyn’s Best’s counterclaims against TTT Foods and were

  voluntarily dismissed. The Notice of Voluntary Dismissal of said counterclaims is attached

  hereto as Exhibit “A.” The state court’s order regarding said dismissal and authorizing TTT

  Foods to execute on its judgment is attached as Exhibit C to the Complaint.

         8.      The inequity asserted in the seventeenth affirmative defense appears to be a denial

  of the alter ego relief TTT Foods seeks in Count VII of the Complaint. However, there are no

  additional facts cited in the Amended Defenses or the Response that supports the Seventeenth

  Affirmative Defense. Moreover, the undersigned has not found any support in the law for an

  affirmative defense of inequity. It appears to be a denial.

         9.      The Motion seeks to strike the Twelfth Affirmative Defense because the

  Defendants are merely denying TTT Foods’ allegations by stating that “Brooklyn’s Best LLC

  was not created or used in order to mislead or defraud Plaintiff, and its corporate veil should not

  be pierced nor should Defendant Beatrice Namm be found to be its alter ego.” Am. Answer ¶ 24.

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  Nothing set forth in the Response changes the conclusion that the Twelfth Affirmative Defense

  merely points out alleged defects in TTT Foods’ prima facie case or lack of evidence, and are

  redundant of the Defendants’ denials set forth in their Amended Answer.              Nothing in the

  Response sets up other facts in justification or avoidance of liability based on alter ego or veil

  piercing. The Court should strike this defense.

         10.     The Motion seeks to strike the Thirteenth Affirmative Defense because it states

  that “Counts I through IV fail to state a cause of action to establish joint and several liability[,]”

  and constitutes a mere denial of TTT Foods’ allegations. Am. Answer ¶ 25. In the Response,

  the Defendants allege that the “law is that Defendants cannot be held jointly and severally liable

  for the damages awarded, regardless of whether or not Plaintiff proves a fraudulent transfer.”

  Resp. ¶ 26. Such statement, however, is inaccurate. In Pollizzi v. Paulshock, the Fifth DCA

  concluded that while in a proceedings supplementary action under section 56.29 of the Florida

  Statutes, it would be procedurally improper to hold third-party defendants jointly and severally

  liable for improperly transferring the judgment debtors’ funds, “[i]f the judgment creditor

  initiated an independent action against the third-party defendants to recover these monies

  through a cause of action such as fraudulent conveyance, fraud, or conspiracy, a basis might exist

  for joint and several liability.” 52 So. 3d 786, 790 n. 2 (Fla. Dist. Ct. App. 2010); see In re IVDS

  Interactive Acquisition Partners, 302 F. App'x 574, 576 (9th Cir. 2008) (concluding that “[j]oint

  and several liability is appropriate under Florida law against joint tortfeasors acting in concert or

  through independent acts to produce a single injury” and “[b]ecause the jury found that the

  [appellants] worked in concert with the other defendants to perform a fraudulent transfer, joint

  and several liability is an appropriate remedy against them.) (citations omitted). This defense is

  a mere denial that the Court should strike.




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         11.     The Motion seeks to strike the Fourteenth Affirmative Defense because it only

  sets forth denials by stating that “Count V fails to state a cause of action for violation of a

  fiduciary duty[,]” and “[t]here is no allegation in Count V of ultimate facts to support a cause of

  action for a violation of fiduciary duty.” Am. Answer ¶ 26. The Response does not change this

  conclusion and mistakenly states that “even if Plaintiff was to prove everything alleged in its

  Count V, Defendants would still not be liable because they have none of the duties alleged[.]”

  TTT Foods has alleged in Count V of the Complaint that “[a]s the manager and member of

  Brooklyn’s Best, Mrs. Namm owed a fiduciary duty to Brooklyn’s Best, and Brooklyn’s Best

  creditors, including TTT Foods, in the event of insolvency and when Brooklyn’s Best is within

  the vicinity of insolvency.” Compl. ¶ 81. Thus, if TTT Foods proved everything alleged in

  Count V, it would prove that Mrs. Namm owed a fiduciary duty to TTT Foods. The Court

  should strike this defense as a denial.

         12.     The Motion seeks to strike the Fifteenth Affirmative Defense because it

  constitutes a bare bones conclusory allegation.       In the Response, the Defendants fail to allege

  any fact to support its argument that Brooklyn’s Best is a required and indispensable party under

  Rule 19 of the Federal Rules of Civil Procedure.            The Defendants merely reiterate their

  allegations in the Amended Answer. They fail to address the applicable standard and they fail to

  provide any statement as to: i) why the Court might not be able to accord complete relief among

  the existing parties if Brooklyn’s Best is not joined; ii) any interest of Brooklyn’s Best relating to

  the subject of the action that could be prejudiced by its absence, and iii) how Brooklyn’s Best’s

  absence could leave the existing parties at a substantial risk of incurring inconsistent obligations.

  The Court should strike this defense as a bare bones conclusory allegation.

         WHEREFORE, Plaintiff, TTT Foods requests that this Court enter an Order providing for

  all relief sought in the Motion.

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice

  of electronic filing via CM/ECF to Gus R. Benitez, Esquire, counsel for the Defendants, 1223

  East Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, and

  to those other parties registered to receive such service on January 20, 2017.

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                                                By:    /s/ John E. Page
                                                         John E. Page
                                                         Florida Bar No. 0860581
                                                         Bernice C. Lee
                                                         Florida Bar No. 0073535




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                              EXHIBIT "A"
Filing #Case 9:16-cv-81798-DMM
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                                                              IN THE CIRCUIT COURT OF THE
                                                              15th JUDICIAL CIRCUIT, IN AND
                                                              FOR PALM BEACH COUNTY, FLORIDA


        TTT FOODS HOLDING COMPANY LLC,
              Plaintiff,


        v.                                                    CASE NUMBER: 15-CA-6286


        BEA’S BROOKLYN’S BEST, LLC,
              Defendant.
        ________________________________/


                             NOTICE OF DISMISSAL WITHOUT PREJUDICE

               COMES NOW Defendant BEA’S BROOKLYN’S BEST, LLC, by and through its

        attorney, and files this notice of dismissal without prejudice of its counterclaims, pursuant

        Florida Rule of Civil Procedure 1.420.

                                         CERTIFICATE OF SERVICE
                I HEREBY CERTIFY that a copy of the foregoing was delivered on April 18, 2016,
        electronically filed with the Clerk of the Court by using the Florida e-Portal filing system, which
        system will send a notice of electronic filing to all attorneys of record.
                                                      BENITEZ LAW GROUP, P.L.
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